                                                                                 DISTRICT OF OREGON
                                                                                      FILED
                                                                                      April 11, 2022
                                                                               Clerk, U.S. Bankruptcy Court



  Below is an order of the court.




                                                               _______________________________________
                                                                           THOMAS M. RENN
                                                                         U.S. Bankruptcy Judge




                          UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF OREGON
 In re                                                   Case No. 22-60307-tmr13
                                                         AMENDED ORDER GRANTING
 DENNIS RAYBOULD,                                        MOTION TO EXTEND TIME TO
                                Debtors.                 FILE MISSING DOCUMENTS

         Debtor filed a motion to extend time to file missing documents on March 31, 2022 (Doc.
#15). The court granted the motion by order entered April 1, 2022 (Doc. #16). It appears to the
court that the deadline in the order needs clarification. Therefore,
         IT IS ORDERED that debtor’s missing documents as required by the order and notice
regarding time to file documents (Doc. #7) are due by April 14, 2022.
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MISSING DOCUMENTS

                      Case 22-60307-tmr13          Doc 23     Filed 04/11/22
